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 9 Attorneys for United States of America

10                                 UNITED STATES DISTRICT COURT

11                               NORTHERN DISTRICT OF CALIFORNIA

12                                          OAKLAND DIVISION

13 UNITED STATES OF AMERICA,                      )    NO. CR 19-CR-655-1 HSG
                                                  )    NO. CR 19-CR-655-4 HSG
14         Plaintiff,                             )    NO. CR 19-CR-655-7 HSG
                                                  )    NO. CR 19-CR-655-11 HSG
15      v.                                        )    NO. CR 19-CR-655-12 HSG
                                                  )
16   EDUARDO GUZMAN TORRES,                       )    STIPULATION TO EXCLUDE TIME FROM
           a/k/a “Miguel” a/k/a “Mikey” a/k/a     )    6(37(0%(5 TO OCTOBER 26,
17         “Michael” a/k/a “Ramon Guzman-         )    2020 AND ORDER
           Jimenez” a/k/a “Fortino” a/k/a “Ramon )
18         Jimenez” a/k/a “Fabian Cisneros” a/k/a )
           “Hernan Torres Garcia” a/k/a “Potes” )
19         a/k/a “Alex,”                          )
     ALFREDO TAPIA SANDOVAL,                      )
20         a/k/a “Fredi Tapia-Sandoval” a/k/a     )
           “Fredi,”                               )
21   JUAN CARLOS GUZMAN,                          )
           a/k/a “Jose Rosa-Perez,”               )
22   ERICA LAGUNAS, and                           )
     TERESA GUZMAN-RODRIGUEZ,                     )
23         a/k/a “Mono” a/k/a “Monos,”            )
                                                  )
24         Defendants.                            )
                                                  )
25

26         It is hereby stipulated by and between counsel for the United States and counsel for the above-
27 named defendants, that time be excluded under the Speedy Trial Act from September 28, 2020, through

28 October 26, 2020.

     STIPULATION TO EXCLUDE TIMEAND ORDER
     No. 19-CR-655-HSG                                                                       v. 7/10/2018
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 1          At the status conferences held on September 28, 2020 (Dkts. 119-121), the government and

 2 counsel for the defendants agreed that time be excluded under the Speedy Trial Act so that defense

 3 counsel could continue to prepare, including by reviewing the discovery already produced and discovery

 4 that the government needed to produce. During the hearing, the government represented that while

 5 substantial discovery had been produced, additional discovery needed to be produced, including pole

 6 camera surveillance footage. The Court ordered the Government to file a status report regarding

 7 discovery within 48 hours and to turn over all currently-existing discovery before the next court date.

 8 Dkt. 119. For this reason and as further stated on the record at the status conference, the parties stipulate

 9 and agree that excluding time until October 26, 2020, will allow for the effective preparation of counsel.

10 See 18 U.S.C. § 3161(h)(7)(B)(iv). The parties further stipulate and agree that the ends of justice served

11 by excluding the time from September 28, 2020, through October 26, 2020, from computation under the

12 Speedy Trial Act outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.

13 § 3161(h)(7)(A), (B)(iv).

14          The undersigned Assistant United States Attorney certifies that he has obtained approval from

15 counsel for the defendant to file this stipulation and proposed order.

16          IT IS SO STIPULATED.

17 DATED: October 19, 2020                                         /s/                  ___
                                                          RYAN REZAEI
18                                                        Assistant United States Attorney
19 DATED: October 19, 2020                                         /s/                ___
                                                          SHAFFY MOEEL
20                                                        Counsel for Defendant Eduardo Guzman Torres
21 DATED: October 19, 2020                                         /s/                ___
                                                          ROBERT WAGGENER
22                                                        Counsel for Defendant Alfredo Tapia Sandoval
23 DATED: October 19, 2020                                         /s/                ___
                                                          CHARLES WOODSON
24                                                        Counsel for Defendant Juan Carlos Guzman
25 DATED: October 19, 2020                                         /s/                ___
                                                          JOHN JORDAN
26                                                        Counsel for Defendant Erica Lagunas
27 DATED: October 19, 2020                                         /s/                ___
                                                          BRUCE FUNK
28                                                        Counsel for Defendant Teresa Guzman-Rodriguez

     STIPULATION TO EXCLUDE TIMEAND ORDER
     No. 19-CR-655-HSG                                                                           v. 7/10/2018
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 1                                                    ORDER
 2          Based upon the facts set forth in the stipulation of the parties and the representations made to the
 3 Court on September 28, 2020, and for good cause shown, the Court finds that failing to exclude the time

 4 from September 28, 2020, through October 26, 2020, would unreasonably deny defense counsel and the

 5 defendant the reasonable time necessary for effective preparation, taking into account the exercise of

 6 due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds that the ends of justice served by

 7 excluding the time from September 28, 2020, to October 26, 2020, from computation under the Speedy

 8 Trial Act outweigh the best interests of the public and the defendant in a speedy trial. Therefore, and

 9 with the consent of the parties, IT IS HEREBY ORDERED that the time from September 28, 2020,

10 through October 26, 2020, shall be excluded from computation under the Speedy Trial Act. 18 U.S.C. §

11 3161(h)(7)(A), (B)(iv).

12          IT IS SO ORDERED.

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14 DATED: 10/20/2020                                              ________________________________
                                                                  HAYWOOD S. GILLIAM, JR.
15                                                                United States District Judge
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     STIPULATION TO EXCLUDE TIMEAND ORDER
     No. 19-CR-655-HSG                                                                           v. 7/10/2018
